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                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      ASHLEIGH R. KASPER, SB# 294963
                    2   E-Mail: Ashleigh.Kasper@lewisbrisbois.com
                      633 West 5th Street, Suite 4000
                    3 Los Angeles, California 90071
                      Telephone: 213.250.1800
                    4 Facsimile: 213.250.7900
                    5
                      THOMPSON HINE LLP
                    6 MEGAN S. GLOWACKI, (Pro Hac Vice forthcoming)
                        E-Mail: Megan.Glowacki@ThompsonHine.com
                    7 ANTHONY      P. McNAMARA, (Pro Hac Vice forthcoming)
                        E-Mail: Anthony.McNamara@ThompsonHine.com
                    8 312 Walnut Street, Suite 2000
                      Cincinnati, Ohio 45202
                    9 Telephone: 513.352.6700
                      Facsimile: 513.241.4771
                   10
                      Attorneys for Defendants,
                   11 NOURYON SURFACE CHEMISTRY,
                      LLC, THE CARLYLE GROUP,
                   12 CHARLIE SHAVER, SUZANNE M.
                      CARROLL and BAHAR AZIMIPOUR
                   13
                   14
                                                        UNITED STATES DISTRICT COURT
                   15
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                   16
                   17
                        DENNIS CRIMMINS,                              Case No. '22CV58    BAS BLM
                   18
                                           Plaintiff,                 DEFENDANT NOURYON
                   19                                                 SURFACE CHEMISTRY LLC’S
                                 vs.                                  NOTICE OF PARTY WITH
                   20                                                 FINANCIAL INTEREST
                      NOURYON SURFACE CHEMISTRY,
                   21 LLC, a California Limited Liability             [Filed concurrently herewith Notice of
                      Company; THE CARLYLE GROUP,                     Removal; Request for Judicial Notice;
                   22 INC., a Califomia Corporation;                  Declaration of Ashleigh R. Kasper;
                      CHARLIE SHAVER; an Individual; ‘                Civil Case Cover Sheet; Notice of Party
                   23 SUZANNE M. CARROLL, an                          with Financial Interest (Carlyle)]
                      Individual; BAHAR AZIMIPOUR, an
                   24 Individual;’and DOES 1 through 25,
                      Inclusive,
                   25
                                   Defendant.
                   26
                   27            Comes now Defendant Nouryon Surface Chemistry LLC (“Nouryon”), by

LEWIS              28 counsel, and submits the following Corporate Disclosure Statement in accordance
B RISBOIS
B ISGAARD               4867-8494-3881.1
& SMITHLLP
ATTORNEYS AT LAW        DEFENDANT NOURYON SURFACE CHEMISTRY LLC’S NOTICE OF PARTY WITH FINANCIAL INTEREST
                   Case 3:22-cv-00058-RBM-BLM Document 2 Filed 01/14/22 PageID.79 Page 2 of 2




                    1 with Fed. R. Civ. P. 7.1 and CivLR 40.2. Nouryon states that it is a limited liability
                    2 company whose sole member is Nouryon Chemicals LLC, and there is no publicly
                    3 held corporation which owns 10% or more of Nouryon’s stock.
                    4
                    5 DATED: January 14, 2022              LEWIS BRISBOIS BISGAARD & SMITH LLP
                    6
                    7
                                                           By:
                    8
                                                                 Ashleigh R. Kasper
                    9                                            Attorneys for Defendants, NOURYON
                   10                                            SURFACE CHEMISTRY, LLC, THE
                                                                 CARLYLE GROUP, CHARLIE
                   11                                            SHAVER, SUZANNE M. CARROLL and
                   12                                            BAHAR AZIMIPOUR

                   13 DATED: January 14, 2022              THOMPSON HINE LLP
                   14
                   15
                   16                                      By:         /s/ Megan S. Glowacki
                                                                 Megan S. Glowacki
                   17
                                                                 Anthony P. McNamara
                   18                                            Attorneys for Defendants, NOURYON
                   19                                            SURFACE CHEMISTRY, LLC, THE
                                                                 CARLYLE GROUP, CHARLIE
                   20                                            SHAVER, SUZANNE M. CARROLL and
                   21                                            BAHAR AZIMIPOUR

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LEWIS              28
B RISBOIS
B ISGAARD
& SMITHLLP
                        4867-8494-3881.1                         2
ATTORNEYS AT LAW        DEFENDANT NOURYON SURFACE CHEMISTRY LLC’S NOTICE OF PARTY WITH FINANCIAL INTEREST
